
Shaw, C. J.
It seems to the court, that the instruction of the judge was correct, well adapted to the circumstances of the case, and cautiously qualified and guarded. It seems well settled, that when there are two post-offices in a town, notice by letter to an indorser, addressed to him at the town generally, is sufficient, unless the party addressed has been gene*428rally accustomed to receive his letters at one of the offices in particular, and to have his letters addressed to him there by his correspondents. Such being the rule, the plaintiff proves his case primd facie, by proving notice by letter addressed to the defendant at the town generally. If then the defendant would rebut this presumption of fact, and bring himself within the exception, it lies on him to prove that he did usually receive his letters at one office only, and that this might have been known by reasonable inquiry at the place where the letter was mailed. Without this proof, it may be true that the defendant received his letters habitually, as well at one post-office as the other, and then the plaintiff’s primd facie proof remains unrebutted, and he must prevail.

Exceptions overruled.

